IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

SOUTHERN DIVISION
UNITED STATES OF AMERICA, Case No. 0 2~ 31QO ~ol- CR-S- MD 4}
Plaintiff, COUNT 1
21 U.S.C. § 841(a)(1) and (b)(1)(C)
v. NMT 20 Years Imprisonment
NMT $1 Million Fine
PATRICIA A. MASON, NLT 3 Years Supervised Release
[DOB: 10/24/1985], Class C Felony
Defendant. $100 Special Assessment (All Counts)
INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

COUNT 1
(Possession with the Intent to Distribute a Mixture or Substance Containing a Detectable
Amount of Fentanyl)
21 U.S.C. § 841(a)(1) and (b)(1)(C)

On or about September 20, 2022, in Laclede County, in the Western District of Missouri,
the defendant, PATRICIA A. MASON, knowingly and intentionally possessed, with the intent to
distribute, a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-
phenyehty!)-4-piperidinyl] propenamide (fentanyl), a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(C).

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ATRICK CARNEY
ssistant United States Attorney

Respectfully submitted,

DATED:  wli3/]2023
Springfield, Missouri

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